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 2                                                                              JUDGE LEIGHTON
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 6
                                     UNITED STATES DISTRICT COURT
 7                                  WESTERN DISTRICT OF WASHINGTON
                                              AT TACOMA
 8
           UNITED STATES OF AMERICA,                      )
 9                                                        )       NO. CR05-5158RBL
                                  Plaintiff,              )
10                                                        )
                                                          )
11                vs.                                     )
                                                          )       STIPULATION AND ORDER
12                                                                AMENDING
                                                          )       CONDITIONS OF BOND TO ALLOW
13         MICHAEL J. SHANAHAN,                           )       OUT OF DISTRICT FAMILY VISIT
                                                          )
14                                                        )
                                  Defendant.              )
15                                                            )
16
17
18    THIS MATTER having come on duly and regularly for hearing upon stipulated motion of the
19   parties for an order AMENDING DEFENDANT’S CONDITIONS OF BOND AND ALLOWING
20   OUT OF DISTRICT FAMILY VISIT; and the Court having reviewed the records and filed herein,
21   and being advised that the requested travel is approved by Erika Lugo of pretrial services and Arlen
22   Storm, Assistant United State attorney on behalf of the Government and being in all matters duly
23   advised;
24
25          IT IS HEREBY ORDERED, ADJUDGED AND DECREED that Michael Shanahan be
26   permitted to leave the district for a family visit to Chicago during December, 2006. Mr. Shanahan
27
28
     Order Allowing Travel                                                JUDITH M. MANDEL
                                                                          Attorney at Law
                                                                          524 Tacoma Ave So
                                                                          Tacoma, WA 98402
                                                      1                    (253)272-5640
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 1   shall provide an approved itinerary to Erika Lugo. All other conditions of the bond shall remain in
 2   full force and effect.


                                                  A
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                     IT IS SO ORDERED this 6th day of December, 2006.
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                                                  RONALD B. LEIGHTON
 5                                                UNITED STATES DISTRICT JUDGE
                                                  Digitally Signed upon oral authorization (JAB)
 6
     Presented by:
 7
 8   s/Judith M. Mandel
     Judith M. Mandel, WSBA#8677
 9   Attorney for Defendant Shanahan
     524 Tacoma Avenue So
10   Tacoma, WA 98402
     PH: (253)272-5640
11   Fax: (253)272-5642
     judithmandel@callatg.com
12
13   Approved for entry by:
14
15   s/Arlen Storm
     Arlen Storm
16   Assistant United States Attorney
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     Order Allowing Travel                                               JUDITH M. MANDEL
                                                                         Attorney at Law
                                                                         524 Tacoma Ave So
                                                                         Tacoma, WA 98402
                                                     2                    (253)272-5640
